Case 2:05-Cr-20283-BBD Document 7 Filed 08/11/05 Page 1 of 2 Page|D 5

UNITED sTATEs DIsTchT CoURT "'ED B"' '~“~“- °'°'
WEsTERN DISTchT oF TENNESSEE _ .
Western Division 95 AUG l l PH l 215

Q
UNITED sTATEs 0F AMERICA Ci£HTK},Kl)lM§A'l`-iil§%
Wf»£l C-:'~ lt :-. ritin
-vs- Case No. 2:05cr20283-001D
DERRICo BOBBIT

 

ORDER OF DETENTION PENDING TRIAL
FlNDlNGS
In accordance With the Bail Reform Act, 18 U.S.C. § 3142(t), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

DERRICO BOBBIT is committed to the custody of the Attomey General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. DERRICO BOBBIT shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
govemment, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding.

Dace; Augusr 10, 2005 g 72,

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

661 in 901-myraan

y

sh
T”ns document entered on the docket

thh Flle §§ ar\..:‘.for 32{\:)) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20283 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

